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                                  1                                         UNITED STATES DISTRICT COURT

                                  2                                    NORTHERN DISTRICT OF CALIFORNIA

                                  3
                                       Community Legal Services in East Palo Alto, et al.
                                  4                                                    ,          Case No. 3:25-cv-2847
                                                            Plaintiff(s),
                                  5
                                                                                                  APPLICATION FOR ADMISSION OF
                                                    v.                                            ATTORNEY PRO HAC VICE
                                  6
                                                                                                  (CIVIL LOCAL RULE 11-3)
                                  7    U.S. Dep't of Health and Human Services, et al. ,

                                                            Defendant(s).
                                  8
                                  9
                                  10             I, Samantha Hsieh                  , an active member in good standing of the bar of

                                  11     Virginia                                   , hereby respectfully apply for admission to practice pro hac

                                  12    vice in the Northern District of California representing: all plaintiffs                          in the
Northern District of California
 United States District Court




                                  13    above-entitled action. My local co-counsel in this case is Alvaro Huerta                          , an

                                  14    attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15                                                                      274787
                                        within the State of California. Local co-counsel’s bar number is: _________________.
                                         Amica Center for Immigrant Rights                         Immigrant Defenders Law Center
                                  16     1025 Connecticut Ave., Ste. 701                           634 S. Spring St., 10th Floor
                                         Washington DC 20036                                       Los Angeles, CA 90014
                                  17     MY ADDRESS OF RECORD                                      LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18    (202) 908-6902                                            (213) 338-7542
                                         MY TELEPHONE # OF RECORD                                  LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                        sam@amicacenter.org                                       ahuerta@immdef.org
                                  20     MY EMAIL ADDRESS OF RECORD                                LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21
                                  22             I am an active member in good standing of a United States Court or of the highest court of
                                  23    another State or the District of Columbia, as indicated above; my bar number is: 90800                     .
                                  24             A true and correct copy of a certificate of good standing or equivalent official document
                                  25    from said bar is attached to this application.
                                  26                                                                     0
                                                 I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27    preceding this application.
                                  28
                                         Case 3:25-cv-02847-AMO            Document 9        Filed 03/27/25     Page 2 of 2




                                  1             I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                  2    the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                  3    Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                  4    Dated: 3/27/25                                                Samantha Hsieh
                                                                                                     APPLICANT
                                  5
                                  6
                                  7
                                  8                                    ORDER GRANTING APPLICATION

                                  9                           FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10
                                  11            IT IS HEREBY ORDERED THAT the application of Samantha Hsieh                          is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:

                                  16
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                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
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                                       Updated 11/2021                                   2
